           Case 2:09-cr-00016-JCC          Document 39        Filed 01/16/09      Page 1 of 3




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR09-0016-JCC
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )             DETENTION ORDER
11   JESSIE SMITH,                        )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Cocaine; Conspiracy to Distribute Heroin

15 Date of Detention Hearing:      January 16, 2009

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Defendant has been charged with a drug offense the maximum penalty of which

22 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to both

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 1
           Case 2:09-cr-00016-JCC          Document 39        Filed 01/16/09      Page 2 of 3




01 dangerousness and flight risk, under 18 U.S.C. §3142(e).

02          2.      Defendant elected to not be interviewed by Pretrial Services. Therefore, there is

03 little background information available upon which to evaluate conditions of release. Defendant

04 has a lengthy criminal history which includes multiple drug offenses, bench warrant activity,

05 failures to appear, and failure to abide by Court orders. At the time of arrest, defendant had just

06 been sentenced to serve one year and one day confinement in state custody.

07          3.      Defendant poses a risk of nonappearance due to lack of background information,

08 failures to appear and failures to abide by Court orders, as well as his pending state sentence. He

09 poses a risk of danger due to his criminal history and the nature of the pending charges.

10          4.      Taken as a whole, the record does not effectively rebut the presumption that no

11 condition or combination of conditions will reasonably assure the appearance of the defendant as

12 required and the safety of the community.

13 It is therefore ORDERED:

14          (1)     Defendant shall be detained pending trial and committed to the custody of the

15                  Attorney General for confinement in a correction facility separate, to the extent

16                  practicable, from persons awaiting or serving sentences or being held in custody

17                  pending appeal;

18          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                  counsel;

20          (3)     On order of a court of the United States or on request of an attorney for the

21                  Government, the person in charge of the corrections facility in which defendant is

22                  confined shall deliver the defendant to a United States Marshal for the purpose of

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
     PAGE 2
          Case 2:09-cr-00016-JCC         Document 39      Filed 01/16/09      Page 3 of 3




01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 16th day of January, 2009.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
